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 7                             UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
10    LISABETH HANSCOM, on behalf of herself   Case No. 4:21-cv-03434-JSW
      and those similarly situated,
11
      Plaintiff,
12                                             PLAINTIFF’S NOTICE OF VOLUNTARY
                    v.                         DISMISSAL
13
14    REYNOLDS CONSUMER PRODUCTS INC.
      AND REYNOLDS CONSUMER PROD-
15    UCTS LLC,

16    Defendants.

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 1        Notice is hereby given pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules
 2 of Civil Procedure that Plaintiff LISBETH HANSCOM voluntarily dismisses the
 3 above-captioned litigation with prejudice as to her individual claims and without
 4 prejudice as to all putative class member claims.
 5
          Dated: August 28, 2022          GUTRIDE SAFIER LLP
 6
                                           /s/Seth A. Safier/s/
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